Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 1 of 13




            EXHIBIT E
Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 2 of 13
                                               ŽELEZARA SMEDEREVO D.O.O.
                                                    SMEDEREVO
                                                           No. 203/3
                                                   Date: 25 June 2016 4 9:00 (1)




                     DECISION TO INCORPORATE
                     ŽELEZARA SMEDEREVO DOO




                              1
      Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 3 of 13




On the basis of Articles 11, 12, and 141 of the Commercial Companies Act (Official Gazette of the Republic of
Serbia, nos. 36/2011, 99/2011, 83/2014—State Act, and 5/2015) (hereinafter, the Act), and Article 23 of the
Decision to Incorporate Železara Smederevo d.o.o. dated 23 April 2015, the Republic of Serbia, as the sole
member and founder (hereafter Founder) of PRIVREDNO DRUŠTVO ZA PROIZVODNJU I PRERADU
ČELIKA ŽELEZARA SMEDEREVO DOO SMEDEREVO, incorporated in accordance with the legislation of the
Republic of Serbia, with its registered office in Radinac, Smederevo, Corporate Registration No.: 07342691,
Taxpayer ID No.: 103125366 (hereinafter the Company), acting through the General Meeting of Shareholders, on
25 June 2016, hereby issues the following:

                                       DECISION TO INCORPORATE
                                       ŽELEZARA SMEDEREVO DOO

Introductory provisions and subject matter of the memorandum of incorporation

This decision to incorporate (hereinafter Memorandum of Incorporation) is a new Memorandum of
Incorporation of the Company and completely replaces the previous memorandum of incorporation issued and
amendments and supplements thereto.

Founder

                                                     Article 1

The Founder of the Company is the Republic of Serbia.

Legal form, trading name, registered office, main activity

                                                     Article 2

The Company has the form of a limited liability company.

                                                     Article 3

The trading name of the Company is PRIVREDNO DRUŠTVO ZA PROIZVODNJU I PRERADU ČELIKA
ŽELEZARA SMEDEREVO DOO SMEDEREVO.

The abbreviated trading name of the Company is: ŽELEZARA SMEDEREVO DOO.

Decisions to change the trading name of the Company are made by the Founder, in accordance with this
Memorandum of Incorporation.

The trading name of the Company and the abbreviated trading name are registered in accordance with the relevant
provisions.

                                                     Article 4

The registered office of the Company is in Smederevo, at the address Radinac, 11300 Smederevo.

Decisions to change the registered office of the Company are made by the Founder, in accordance with this
Memorandum of Incorporation.

The Company may but need not have a seal and a stamp.

If a seal is used, it is round and contains the trading name or abbreviated name of the Company.

The Directors determine how the seal is used, kept, and destroyed.




                                                      2
      Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 4 of 13




If a stamp is used, it is rectangular and contains the abbreviated trading name of the Company and space for
entering the reference number and the date on which the document was entered in the registry.

The Company may have a sign that denotes its main activity.

The Founder determines the Company’s sign.

                                                        Article 5

The main activity of the Company is: 24.10 Production of pig iron, steel, and ferroalloys.

The Company may carry out other activities too, in accordance with statute, including foreign trade in connection
with the fulfilment of requirements stipulated by statute.

The Founder makes decisions to change the main activity of the Company, in accordance with this Memorandum
of Incorporation.

                                                        Article 6

The Company is liable for its obligations to the value of all of its assets.

The Founder is not liable for the obligations of the Company except in those situations envisaged in statute.

Capital, shares

                                                        Article 7

The contribution made by the Founder to the Company constitutes its share capital and in total equals
19,496,287,058.7117 dinars.

The Company’s total subscribed capital deriving from a cash contribution is 16,740,285,582.20 dinars.

The Company’s total paid-up capital deriving from a cash contribution is 16,740,285,582.20 dinars, as of 13 June
2012.

The Company’s total subscribed capital deriving from a contribution in kind is 2,756,001,476.5117 dinars.

The Company’s total contributed capital deriving from a contribution in kind is 2,756,001,476.5117 dinars, of
which 611,303,012.5 dinars was contributed on 27 August 2013 in rights, 34,716,356.8703 dinars was contributed
on 30 June 2007 in assets, and 2,109,982,107.1414 dinars was contributed on 25 August 2003 in assets.

                                                        Article 8

The shares in the Company’s share capital are as follows:

– The Republic of Serbia holds 100% of the shares in the Company’s share capital.

                                                        Article 9

The Company’s share capital may be increased by adding new shares thereto, by converting available reserves into
share capital, by converting additional receipts into share capital, by converting balances owed by the Company
into share capital, through reclassification resulting in an increase in share capital, or in any other way governed by
the relevant provisions.

The Company’s share capital may be increased under a decision by the Founder, in accordance with statute and
this Memorandum of Incorporation.




                                                         3
      Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 5 of 13




                                                    Article 10

The Company’s share capital may be reduced under a decision by the Founder, in accordance with statute and this
Memorandum of Incorporation, but to no lower than the minimum share capital stipulated in statute.

A reduction in the share capital of the Company on one basis may be effected at the same time as an increase in
the share capital on another basis in accordance with statute.

Registration of an increase or a reduction in the share capital of the Company is performed in accordance with
statute.

Governing bodies of the Company

                                                    Article 11

The Company’s management is conducted through a single tier.

The governing bodies of the Company are:

     1. The General Meeting of Shareholders
     2. The Director

General Meeting of Shareholders

                                                    Article 12

The Founder fulfils the role of General Meeting of Shareholders, in accordance with statute.

The Founder has powers vested under this Memorandum of Incorporation and statute.

                                                    Article 13

In accordance with this Memorandum of Incorporation, the Founder decides on the following:

     1.    Approving changes to the decision to incorporate
     2.    Approving financial statements and auditors’ reports if the financial statements have been audited
     3.    Deciding to increase or reduce share capital
     4.    Deciding to allocate profits or how to cover losses, including determining the date on which the right to
           receive dividends is acquired and the date on which dividends are paid to members of the Company
     5.    Appointing auditors and setting the fees for their work
     6.    Deciding to institute liquidation proceedings and deciding to lodge an application for the institution of
           insolvency proceedings, on behalf of the Company
     7.    Appointing an administrator and approving the balance sheet on liquidation and the administrator’s
           report
     8.    Deciding to acquire own shares
     9.    Deciding on the obligations of members of the Company to make additional payments or on
           reimbursement of such payments
     10.   Deciding to insist that a member of the Company leave the Company
     11.   Deciding to exclude a member of the Company for failing to make a cash payment or contribution in
           kind in respect of capital subscribed for
     12.   Deciding to sue to exclude a member of the Company
     13.   Deciding to withdraw or cancel a share
     14.   Issuing a power of attorney
     15.   Deciding to sue and appointing counsel in a dispute against a member of the Company
     16.   Approving a memorandum on the accession of a new member and consenting to the transfer of a share
           to a third party in the instance referred to in Article 167 of the Act
     17.   Deciding on reclassifications and changes in legal form




                                                      4
      Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 6 of 13




     18. Approving legal acts in which there is a personal interest, in accordance with Article 66 of the Act
     19. Consenting to the acquisition, sale, leasing out, pledging, or other disposal of high-value property,
         within the meaning of Article 470 of the Act
     20. Adopting by-laws
     21. Other transactions and decisions on major questions, in accordance with the Act and this decision

Director

                                                     Article 14

The Company has 1 (one) Director

The role of Director of the Company is performed by Ivan Milošević, Personal ID No.: 0811975760039, who
represents the Company independently, without limitation.

The General Meeting of Shareholders makes decisions to appoint or dismiss the Director, and if it dismisses the
Director, it need not cite why.

The Director represents the Company towards third parties in accordance with this Memorandum of Incorporation
and the rules of procedure of the General Meeting of Shareholders.

Directors are registered in accordance with the relevant provisions.

                                                     Article 15

Directors of the Company conduct the business of the Company in accordance with this Memorandum of
Incorporation and the rules of procedure of the General Meeting of Shareholders.

Representation of the Company

                                                     Article 16

The Director of the Company represents the Company, independently and without limitation.

The Director may appoint someone else to represent the Company, within the bounds of his powers.

Dividends and other payments

                                                     Article 17

The Company may pay dividends and remit other payments to the Founder at any time in accordance with statute.

Period for which the Company has been incorporated and dissolution of the Company

                                                     Article 18

The Company has been founded for an indefinite period.

                                                     Article 19

The Company may be dissolved under a decision by the Founder, in accordance with statute and this
Memorandum of Incorporation.

Amendments and supplements to the Memorandum of Incorporation

                                                     Article 20

Amendments and supplements to the Memorandum of Incorporation will be valid if they are signed and registered
in accordance with statute. Signatures on amendments and supplements to the Memorandum of Incorporation need
not be certified.



                                                      5
      Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 7 of 13




Entry into force

                                                   Article 21

This Memorandum of Incorporation comes into force the date it is signed by (an) authorised representative(s) or
by a representative of the Founder at the General Meeting of Shareholders and fully replaces the Memorandum of
Incorporation dated 23 April 2015, which lapses.

Signatures on this Memorandum of Incorporation do not need to be certified.

Copies of the Memorandum of Incorporation

                                                   Article 22

This Memorandum of Incorporation is drawn up in 4 (four) copies, two for the Founder, one for the purposes of
registration, and one for the Company.

                                         On behalf of the Founder
                            acting through the General Meeting of Shareholders

        [Round stamp]                         [Signature] 0410957760035
  ŽELEZARA SMEDEREVO DOO
        SMEDEREVO               Branče Stojanović, chair of the General Meeting of
             1
              •
                                                  Shareholders

                                               [Signature] 2109973960006
                                           Prof. Dr Milenko Dželetović

                                                [Signature] 1803360760013
                                                   Zoran Mišeljić




                                                     6
Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 8 of 13




                              7
Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 9 of 13




                              8
Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 10 of 13




                               9
Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 11 of 13




                              10
Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 12 of 13




                              11
Case 1:18-cv-01773-RDM Document 3-5 Filed 07/31/18 Page 13 of 13




                              12
